                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

                                                       No. CR 13-4067-MWB
               Plaintiff,
 vs.
                                                MEMORANDUM OPINION AND
 RICARDO LIMON-URENDA,                            ORDER REGARDING THE
                                                PROSECUTION’S MOTION FOR
                                               PRELIMINARY DETERMINATION
               Defendant.
                                               OF ADMISSIBILITY OF CERTAIN
                                                        EVIDENCE

                                                       FILED UNDER SEAL

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        This case, in which defendant Ricardo Limon-Urenda is charged with conspiracy
to distribute 500 grams or more of a methamphetamine mixture, which contained 50
grams or more of actual (pure) methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A), and 846, is set for a jury trial to begin on March 3, 2014. It is now before
me on the prosecution’s February 25, 2014, sealed Motion For Preliminary
Determination Of Admissibility Of Certain Evidence (docket no. 94). The “certain
evidence” in question is the evidentiary deposition, by both parties, of Javier Castilla-
Gallardo, a related-case defendant and cooperating witness in this case, who had been
detained as a “material witness” pursuant to 18 U.S.C. § 3144.
        Castilla-Gallardo was sentenced to a term of seven months’ imprisonment, but he
has completed his sentence, and, prior to February 7, 2014, he was in the custody of
immigration authorities (ICE) in Grand Island, Nebraska, where he was subject to
potential removal from the United States. He was arrested on a “material witness”
warrant, pursuant to 18 U.S.C. § 3144, on February 7, 2014. At Castilla-Gallardo’s


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initial appearance on February 7, 2014, after his arrest, United States Magistrate Judge
Leonard T. Strand ordered Castilla-Gallardo detained until his evidentiary deposition
could be taken.    See Hearing Minutes (docket no. 75).        The parties took Castilla-
Gallardo’s evidentiary audio/video deposition on February 21, 2014, and the prosecution
has attached a transcript of that deposition to its present Motion. It appears that, at the
time of the prosecution’s Motion, Castillo-Gallardo was detained in the Woodbury
County Jail, but subject to release on bond from ICE and transport to ICE detention at
another location. The prosecution represents that the parties have stipulated and agreed
to the use of Castilla-Gallardo’s evidentiary deposition at trial, in lieu of his “live”
testimony.   However, because Castilla-Gallardo may or may not be “technically”
unavailable under the Rules of Evidence or other authority (presumably, the
Confrontation Clause), the prosecution requests an order allowing the use of Castilla-
Gallardo’s evidentiary deposition at trial.
       The “material witness” statute pursuant to which Castilla-Gallardo was arrested
provides as follows:
              If it appears from an affidavit filed by a party that the
              testimony of a person is material in a criminal proceeding,
              and if it is shown that it may become impracticable to secure
              the presence of the person by subpoena, a judicial officer may
              order the arrest of the person and treat the person in
              accordance with the provisions of section 3142 of this title.
              No material witness may be detained because of inability to
              comply with any condition of release if the testimony of such
              witness can adequately be secured by deposition, and if
              further detention is not necessary to prevent a failure of
              justice. Release of a material witness may be delayed for a
              reasonable period of time until the deposition of the witness
              can be taken pursuant to the Federal Rules of Criminal
              Procedure.
18 U.S.C. § 3144. The statute only provides for detention of Castilla-Gallardo until his
deposition could be taken, not until he testifies at trial, unless his further detention is

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necessary “to prevent a failure of justice.” See United States v. Matus-Zayas, 655 F.3d
1092, 1100 (9th Cir. 2011) (“In Torres–Ruiz [v. U.S. Dist. Court for the S.D. of Cal.,
120 F.3d 933 (9th Cir.1997) (per curiam)], we expressly adopted the reasoning of the
Fifth Circuit in Aguilar–Ayala v. Ruiz, 973 F.2d 411 (5th Cir. 1992), that when Rule
15(a) and § 3144 are read together, a ‘district court must order [a material witness’]
deposition and prompt release’ when it has been demonstrated that the material witness’
‘testimony can adequately be secured by deposition, and that further detention is not
necessary to prevent a failure of justice.’” (quoting Torres–Ruiz, 120 F.3d at 935
(citations and internal quotation marks omitted, but emphasis in the original)); Aguilar-
Ayala v. Ruiz, 973 F.2d 411, 412 (5th Cir. 1992) (“A material witness may not be
detained [pursuant to § 3144], however, if a deposition would suffice as an adequate
alternative to the witness’ live testimony at the proceeding.”)
       The Eighth Circuit Court of Appeals recognized, some time ago, that, even where
a material witness’s deposition had been taken pursuant to a “material witness” statute—
in that case, a statute specific to a witnesses to the offense of transportation of illegal
aliens, 8 U.S.C. § 1324(d)—the prosecution must still show that the witness is unavailable
at trial before admission of the deposition satisfies a defendant’s constitutional right of
confrontation. See United States v. Perez-Sosa, 164 F.3d 1082, 1085 (8th Cir. 1998);
accord United States v. Aguilar-Tamayo, 300 F.3d 562, 565 (5th Cir. 2002) (recognizing
that, to use at trial a deposition of a material witness taken pursuant to § 1324(d), the
prosecution must satisfy the unavailability requirements of Rule 804 of the Federal Rules
of Evidence and the Confrontation Clause). Federal Circuit Courts of Appeals that have
had more experience with depositions of material witnesses pursuant to § 3144 have
recognized the same requirement. See Matus-Zayas, 655 F.3d at 1099 (noting, “[Section]
3144 contains no language abrogating the constitutional requirement of establishing
unavailability prior to the admission of preserved testimony. In fact, even after the
material witnesses in this case had been deposed and released pursuant to § 3144, the
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government still had the obligation to establish the witnesses’ unavailability in order for
their testimony to be admitted into evidence.”); United States v. Hayes, 231 F.3d 663,
668 (9th Cir. 2000) (“Rule 15 of the Federal Rules of Criminal Procedure allows
depositions to be taken ‘[w]henever due to exceptional circumstances of the case it is in
the interest of justice that the testimony of a prospective witness of a party be taken and
preserved for use at trial . . .’ and provides that if a witness is detained pursuant to § 3144
and his deposition is ordered, the witness may be discharged by the court.”); Agular-
Ayala, 973 F.2d at 412 (the requirement that a material witness may not be detained, if
his or her deposition would suffice, “means, of course, that the deposition testimony must
be admissible notwithstanding any objections by the parties . . . under the Confrontation
Clause of the United States Constitution or the Federal Rules of Evidence”).
       In Matus-Zayas, the Ninth Circuit Court of Appeals explained the “unavailability”
requirement for use of a material witness’s deposition testimony, as follows:
                     “A witness is considered unavailable for purposes of
              the Confrontation Clause if the prosecutorial authorities have
              made a good-faith effort to obtain his presence at trial.” Forn
              v. Hornung, 343 F.3d 990, 995 n.3 (9th Cir.2003), as
              amended (citation and internal quotation marks omitted). In
              the detained material witness context, the government
              typically “bears the burden of proving the [material] witness’
              unavailability as a predicate to the admission of the [material
              witness’] deposition testimony.” Aguilar–Ayala, 973 F.2d at
              417–18 (citation omitted); see also Santos–Pinon, 146 F.3d
              at 736 (noting that “demonstrating unavailability through
              good faith efforts to procure witnesses is still required after §
              1324(d)”); United States v. Fuentes–Galindo, 929 F.2d 1507,
              1511 (10th Cir.1991) (concluding that deposition testimony of
              a detained material witness was inadmissible when the
              government did not “meet its burden” of “demonstrat[ing] a
              ‘good faith’ effort or use ‘reasonable means’ in attempting to
              obtain the three material witnesses’ presence at trial”).



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Matus-Zayas, 655 F.3d at 1101. The court in Matus-Zayas held that the prosecution had
failed to meet its burden to prove “unavailability” of the material witnesses, where it
presented no evidence of its efforts to procure the witnesses’ presence, and, therefore,
held that the district court plainly erred by admitting the material witnesses’ depositions.
Id. at 1102. The obligation to show “unavailability” at trial exists, even if the parties
have stipulated to use of a material witness’s deposition. Id. (noting that, in prior cases,
it had held that it was plain error to admit depositions of material witnesses “without any
proof that the deposed witnesses were unavailable and without a stipulation permitting
the use of the depositions” (citing United States v. Vasquez-Ramirez, 629 F.2d 1295,
1297 (9th Cir. 1980) (per curiam), with my emphasis added).
       The court in Matus-Zayas also explained how this plain error could have been
avoided:
                     To avoid committing plain error, the district court
              should have followed our well-established precedent and
              required the government to place on the record some evidence
              of the continued unavailability of the material witnesses. See
              Vasquez–Ramirez, 629 F.2d at 1297. Indeed, such a showing
              is necessary to avoid a successful Confrontation Clause
              challenge. See Santos–Pinon, 146 F.3d at 736 (discussing the
              “constitutional requirement of establishing unavailability”)
              (internal quotation marks omitted). The government could
              have met its obligation by detailing its efforts to procure the
              witnesses’ presence at the trial and by making a showing that
              despite its efforts, the witnesses remained unavailable. This
              required showing is not unique to the facts of this case.
              Indeed, the government is routinely required to demonstrate
              the unavailability of witnesses prior to using preserved
              testimony. See Jackson v. Brown, 513 F.3d 1057, 1083 (9th
              Cir.2008) (“[T]he prosecution may introduce the prior
              testimony of a witness without running afoul of the Sixth
              Amendment ... [if] the prosecutor ... prove[s] that the witness
              is unavailable ... and if the defendant had the opportunity to
              cross-examine the witness at the prior hearing.”) (citations
              omitted).
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Matus-Zayas, 655 F.3d at 1102 (emphasis added).
       Other appellate decisions flesh out what constitutes a showing of sufficient effort
by the prosecution to procure the presence of a material witness at trial to demonstrate
“unavailability” of that material witness. See United States v. Allie, 978 F.2d 1401, 1404
(5th Cir. 1992) (concluding that adequate showing of “unavailability” had been made to
use at trial the deposition of a material witness taken pursuant to § 3144, where the
prosecution had taken numerous steps to ensure that the deported witnesses would return
for trial including providing witness fees and travel cost reimbursements, giving the
witnesses a subpoena and letter to facilitate their reentry into the U.S., calling them in
Mexico, getting assurance from the U.S. that they would return, apprising border
inspectors of their expected arrival and issuing checks to be given to the witnesses upon
their reentry into the U.S. at time of trial, but despite these efforts, the witnesses refused
to appear at trial); Aguilar-Ayala, 973 F.2d at 417-18 (citing cases identifying sufficient
and insufficient efforts to secure the presence at trial of an alien material witness to
establish “unavailability”); but see Aguilar-Tamayo, 300 F.3d at 566 (“We do not suggest
that it is necessary for the government to take all of the steps referenced in Allie to
establish that it acted reasonably to secure a witness’s presence,” but holding that a
stipulation that the government took no steps to secure the presence of material witnesses
“hardly constitute[s] the use of ‘reasonable means’ to secure the presence of the
witnesses”).
       I can, perhaps, piece together from the prosecution’s present Motion the reasons
that the prosecution believes that Castilla-Gallardo may be “unavailable” at trial.1 By the
time of trial, Castilla-Gallardo may have been released back to ICE detention, or may


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        I could also assume that the prosecution will assert that Castilla-Gallardo is
“unavailable,” but that his testimony will be excepted from the hearsay rule, within the
meaning of Rule 804(a)(5) and (b)(1) of the Federal Rules of Evidence.

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have been deported, and he may be beyond the reach of a subpoena or even an arrest
warrant. Nevertheless, I have no certainty that Castilla-Gallardo will be “unavailable”
at the time of trial. Thus, to avoid the possibility of error in admitting Castilla-Gallardo’s
deposition testimony at trial, notwithstanding defendant Limon-Urenda’s stipulation that
Castilla-Gallardo’s deposition may be used at trial, I will require the prosecution to make
a showing, at the time that the prosecution offers Castilla-Gallardo’s deposition, that the
prosecution has, in “good faith,” made “reasonable efforts” to secure Castilla-Gallardo’s
appearance and live testimony at trial, before I will admit his deposition testimony. See
Matus-Zayas, 655 F.3d at 1102.
       THEREFORE, ruling is reserved until trial on the prosecution’s February 25,
2014, sealed Motion For Preliminary Determination Of Admissibility Of Certain
Evidence (docket no. 94).
       IT IS FURTHER ORDERED that, to avoid exposure of potential jurors to
information about excluded evidence, this ruling shall be sealed until ten days after
completion of trial or any guilty plea, unless a party files a motion within that ten-day
period showing good cause why the ruling should remain sealed.
       IT IS SO ORDERED.
       DATED this 26th day of February, 2014.



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                                           MARK W. BENNETT
                                           U.S. DISTRICT COURT JUDGE
                                           NORTHERN DISTRICT OF IOWA




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